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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

CHAPTER 4 CORP.,
                                                    Case No. 20-cv-02444

               Plaintiff,                           Judge John Robert Blakey

v.                                                  Magistrate Judge Jeffrey I. Cummings

SUPREMETSHIRT.US, et al.,

               Defendants


                              SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on July 27, 2020 [68], in favor of

Plaintiff Chapter 4 Corp. (“Plaintiff”) and against the Defendants Identified in Schedule A in the

amount of five hundred thousand dollars ($500,000) per Defaulting Defendant, and Supreme

acknowledges payment of an agreed upon damages amount, costs, and interest and desires to

release this judgment and hereby fully and completely satisfy the same as to the following

Defendants:

                Defendant Name                                        Line No.
     anhuihejutianyishangmaoyouxiangongsi                                67
                   Realcome                                             111

       THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendants are hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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Dated this 14th day of August 2020.   Respectfully submitted,

                                      /s/ Allyson M. Martin
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